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      In The United States Court of Federal Claims
                                             No. 12-507L

                                       (Filed: September 6, 2013)
                                               __________
 ARTHUR P. BAILEY, JR. AND
 CATHY BAILEY, et al.,
 For Themselves and As Representatives of
 a Class of Similarly Situated Persons,

                         Plaintiffs,

        v.

 THE UNITED STATES,

                         Defendant.
                                              __________

                                               ORDER
                                              __________

        On September 4, 2013, the parties filed a joint status report requesting additional time to
resolve defendant’s objections to the Claims Book and proposing a schedule for the engagement
of an appraiser. The court hereby orders the following:

       1.       On or before October 10, 2013, the parties shall notify the court whether
                there are any remaining Claims Book objections and whether they will
                seek the court’s assistance in resolving such objections; and

       2.       On or before March 14, 2014, the parties shall file a joint status report
                discussing the status of the joint appraisal process and their progress in
                resolving this case without further litigation.

       IT IS SO ORDERED.



                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
